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                                      Transcript Order Form Page 1 of 4
                                   TRANSCRIPT ORDERING INSTRUCTIONS

TRANSCRIPT REQUESTS
A separate form must be completed for each hearing date requested. Select a Transcription Service
Provider from the attached Court-approved list of transcribers and complete the Transcript Order form.

Five (5) types of transcript requests:
x   Ordinary: A transcript to be delivered within thirty (30) calendar days after receipt of deposit.
x   14 Days: A transcript to be delivered within fourteen (14) calendar days after receipt of deposit.
x   7 Days: A transcript to be delivered within seven (7) calendar days after receipt of deposit.
x   3 Days: A transcript to be delivered within three (3) calendar days after receipt of deposit.
x   Daily: A transcript to be delivered within 24 hours after receipt of deposit.

341(a) MEETING OF CREDITORS:
The Meeting of Creditors is recorded by the Trustee. The Court does not keep or provide a copy of the
recording. For 341(a) Recording Request Procedures, visit the U.S. Trustee website www.justice.gov/ust/r16.

FILE THE TRANSCRIPT ORDER FORM
Parties with an ECF account must file the Transcript Order Form in CM/ECF on the related case docket. Use
docket event “Transcript Order Form (Public Request).” As with all ECF filings, the completed PDF Transcript
Order Form must be “flattened” before electronically filing through ECF (click here to view the procedure). Self-
represented litigants and parties without an ECF account may hand-deliver or mail the form to the division
where the hearing was held.

*NOTE: The Court does not accept transcript requests via fax, email or telephone.

TRANSCRIPT PROCESSING
The Court does not transcribe court proceedings. The official record of court proceedings is transcribed
by a court-approved transcriber from materials provided to that transcriber by the court. When a
Transcript Order Form is received, the Court will forward the hearing information to the Transcription Service
Provider you designate on the Transcript Order Form. The Transcription Service Provider will contact you
regarding receipt of the transcript. Thereafter, contact the Transcription Service Provider directly if you have
questions regarding your transcript order. Transcripts cannot be picked up at the Court. For more information,
go to www.cacb.uscourts.gov/track-transcript-status.

TRANSCRIPT COSTS/FORMS OF PAYMENT
The Transcription Service Provider will contact you directly regarding transcript costs and forms of payment.
Rates may vary but may not exceed maximum charges set by the Judicial Conference of the United States
(maximum rates are listed at www.cacb.uscourts.gov/transcripts).

COPIES OF TRANSCRIPTS
Once the Transcript Order Form requesting a transcript of a hearing is entered on the related case docket, a
Transcription Service Provider is designated and materials for transcription are sent by the Court to the
designated Transcription Service Provider. If more than one party files a Transcript Order Form for the same
hearing, the first Transcript Order Form on the docket takes precedence. All other parties that wish to obtain a
transcript of the same hearing are to contact the Transcription Service Provider designated on the case docket.

Completed transcripts are filed by the transcriber on the related case docket and restricted for 90 days from
the filed date as set forth in the Guide to Judiciary Policy Vol. 6, §510.25.10. During the 90-day restriction
period, the transcript may be viewed at the Clerk’s Office on a public computer terminal or a copy purchased
from the designated Transcription Service Provider that created the original transcript. For more information
see Transcript Ordering Instructions, section 1.15 of the Court Manual at www.cacb.uscourts.gov/court-
manual.


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COURT LOCATIONS
Self-represented litigants and parties without an ECF account may hand-deliver or mail the form to the division
where the hearing was held.


 *DIVISION                                      ADDRESS

 Los Angeles (LA)                               United States Bankruptcy Court
                                                255 E. Temple Street Suite 940
                                                Los Angeles, CA 90012
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)



 Northern (ND)                                  United States Bankruptcy Court
                                                1415 State Street
                                                Santa Barbara, CA 93101
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)



 Riverside (RS)                                 United States Bankruptcy Court
                                                3420 Twelfth Street
                                                Riverside, CA 92501
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)


 San Fernando Valley (SV)                       United States Bankruptcy Court
                                                21041 Burbank Boulevard
                                                Woodland Hills, CA 91367
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)


 Santa Ana (SA)                                 United States Bankruptcy Court
                                                411 West Fourth Street
                                                Santa Ana, CA 92701
 (855) 460-9641                                 Attn: Transcript Orders (name of Judge who held the hearing)


*NOTE: The Court does not accept transcript requests via fax, email or telephone.




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                                        UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA

                              APPROVED TRANSCRIPTION SERVICE PROVIDERS




   BEN HYATT CERTIFIED DEPOSITION
   0B                                                         eSCRIBERS, LLC
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   Fax: (818) 343-7116                                        Email: operations@escribers.net
   Email: mhyatt@benhyatt.com                                 www.eScribers.net
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   Ph: (310) 410-4151                                         Ph:(361) 949-2988, ext. 0
   Fax: (858) 453-9625                                        Fax: (361) 949-7799
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                                                              www.ExceptionalReporting.com


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   Email: echoreporting@yahoo.com                             Email: JJcourt@JJcourt.com
   www.EchoReportinginc.com                                   www.JJcourt.com




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                                                                                                                           ORDER No.
                                         UNITED STATES BANKRUPTCY COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA

                                                        TRANSCRIPT ORDER FORM
                                                                                                                           CHAPTER
                                                                                                                           APPEAL?               Yes        No
     (File this form on the related case docket)                                                                           APPEAL No.
                                                                                                                                               (if known)
   Ordering Party’s Name:                                                                          Attorney Bar#
   Law Firm:
   Mailing Address:


   Person to Contact (If Judge-ordered: Transcriber to contact Procurement**):
   Telephone: (                )______________ E-mail:
   Bankruptcy Case #:                                                      Adversary Proceeding #/MP #:
   Date of Hearing (complete a SEPARATE form for EACH hearing date):                                                      Time:
   Debtor:
   Adversary Proceeding Name:                                                                vs.
   Hearing Judge: SELECT                                                                     Courtroom #: SELECT
                SELECT
   TRANSCRIBER: _____________________________ALTERNATE:  SELECT
                                                        _______________________________
   (Select from the Court-approved list of Transcription Service Providers. This provider will contact you regarding payment)

   341(a) MEETING OF CREDITORS: The Meeting of Creditors is recorded by the Trustee. DO NOT USE THIS
   FORM. For 341(a) Recording Request Procedures, visit the U.S. Trustee website www.justice.gov/ust/r16
    Transcript Type:                NOTE: The Court is not responsible for determining if a hearing has been previously
                                    transcribed. Check the case docket to determine if a filed transcript already exists or is
                                    being transcribed before filing this form.
                                    Copy of Existing Transcript: Contact the transcriber directly for a copy.
        Ordinary (30 days)               3 Days                    Entire Hearing
        14 Days                          Daily (24 hours)          Ruling/Opinion of Judge only
        7 Days                                                     Testimony of Witness
                                                                   Other*                           (name of witness)
    *Special Instructions:
    Transcript due dates are computed from the date the deposit is received by the Transcriber. The cost of a
    transcript varies for each type. See Transcript Ordering Instructions, Transcript Costs/Forms of Payment.

                                                   TO BE COMPLETED BY THE COURT
     Judge Ordered Transcript**: Clerk must docket this form; CM/ECF will automatically notify Procurement.
  Date Request Filed:                             Date Sent to Transcriber:                          By     FDS        Mail      Messenger
  Digital Recording (or Analog Tape Recording)
  (Tape #:         )Time Start (Index #):                    Time End (Index #):                    Time Start:                Time End:

  (Tape #:         )Time Start (Index #):                    Time End (Index #):                    Time Start:                Time End:
  Court Recorder:                                           Division:                       Processed by:

                                                       **TRANSCRIBER INSTRUCTIONS
Judge-ordered transcripts: email price quote & invoice to procurement@cacb.uscourts.gov. Provide quote prior to transcribing.
      Rev. June 2018. This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
